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                                  UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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                                       ) Case No.: 1:24-cv-00123-EPG
14    BILLY PATRICK SIMMS,             )
                                       ) STIPULATION FOR VOLUNTARY
15                                     ) REMAND PURSUANT TO SENTENCE
                                       ) FOUR OF 42 U.S.C. § 405(g)
16              Plaintiff,             )
                                       ) (ECF No. 14)
17        v.                           )
                                       )
      COMMISSIONER OF SOCIAL SECURITY, )
18
                Defendant.             )
19                                     )
                                       )
20                                     )
                                       )
21
22          IT IS HEREBY STIPULATED, by and between the parties, through their undersigned
23   attorneys, and with the approval of the Court, that the Commissioner of Social Security has
24   agreed to a voluntary remand of this case pursuant to sentence four of 42 U.S.C. § 405(g). The
25   purpose of the remand is to offer Plaintiff a new decision.
26          On remand, the Commissioner will offer Plaintiff the opportunity for a hearing, further
27   develop the record as necessary; and issue a new decision. The parties further request that the
28   Clerk of the Court be directed to enter a final judgment in favor of Plaintiff, and against


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 1   Defendant, reversing the final decision of the Commissioner. The Commissioner will conduct
 2   any necessary further proceedings and issue a new decision.
 3
                                                 Respectfully submitted,
 4
 5   Dated: May 29, 2024                         /s/ Jonathan Omar Pena*
                                                 (*as authorized via e-mail on 5/28/24)
 6                                               JONATHAN OMAR PENA
                                                 Attorney for Plaintiff
 7
 8
     Dated: May 29, 2024                         PHILLIP A. TALBERT
 9                                               United States Attorney
10
11                                       By:     /s/ Marcelo Illarmo
                                                 MARCELO ILLARMO
12                                               Special Assistant United States Attorney
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                                                 Attorneys for Defendant
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 1                                               ORDER
 2          Based upon the parties’ Stipulation to Voluntary Remand Pursuant to Sentence Four of
 3   42 U.S.C. § 405(g) and to Entry of Judgment (ECF No. 14), IT IS ORDERED that the above-
 4   captioned action is remanded to the Commissioner of Social Security for further proceedings
 5   consistent with the terms of the Stipulation to Remand. The Clerk of the Court is respectfully
 6   directed to enter a judgment in favor of Plaintiff and against Defendant and to terminate
 7   Plaintiff’s motion for summary judgment (ECF No. 12) as no longer pending.
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     IT IS SO ORDERED.
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        Dated:     May 30, 2024                               /s/
11                                                       UNITED STATES MAGISTRATE JUDGE

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